          Case 1:19-cv-00608-LY Document 26 Filed 10/24/19 Page 1 of 1



                       iN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                           21119   OCT 2l   AM1I: 149

 C.S. BIN/F CHARLES E. SNEED, SR.
 AND PAMELA J. PARKS,
                    PLAINTIFFS,
                                                                               1±_

 V.
                                                      CAUSE NO. 1:19-CV-608-LY
 AUSTIN INDPENDENT SCHOOL
 DISTRICT,
               DEFENDANTS.



                                            ORDER

       Before the court is the above-styled and numbered cause. On September 10, 2019, the court

signed an order (Dkt. No. 19) granting Plaintiff Charles E. Sneed, Sr. leave to file an amended

complaint. Plaintiff Charles E. Sneed, Sr. filed its First Amended Complaint on September 13,

2019 (Dkt. No. 20). Accordingly,

       IT IS ORDERED that Defendant Austin Independent School District's Rule 12(b)(1) &

(b)(6) Motion for Partial Dismissal filed August 16, 2019 (Dkt. No. 14) is DISMISSED

WITHOUT PREJUDICE.

       SIGNED this                 day of October, 2019.



                                             LEØ4
                                             UNI ED STAT
